Garrett Wachtel! is active now

Arkansas State Police @ o
Typically replies within an hour

 

FEB 17, 2016 AT 10:19 PM

You can't go around deleting comments from
your Facebook page. As a government entity,
you are restricted by the 1st Amendment. You
need to follow the law or get a new job. You
give the good cops a bad name with your

blatant disregard for the rights of citizens. The
Arkansas State Police needs a complete
overhaul on personnel, as you are one of the
worst law enforcement departments in the
state.

 

FEB 17,2016 AT 10:57 PM

We do not live in a fascist police-state.

FEB 18, 2016 AT 7:07 AM

Drew, we understand that you are entitled to
your opinion, and you are welcome to repost
your comment. We however would strongly
appreciate if you would not be so disrespectful
to one of our own. As an agency we strive to
keep citizens safe and uphold the laws of this
state, and if you have suggestions on how we
can approach that a different way than we do,
please elaborate.

 

FEB 18, 2016 AT 8:21 AM

It's not about my opinion, it's about my rights.
As a government entity, you are restricted b

 
pA a cate

Arkansas State Police @ o
Typically replies within an hour

 

Man Successfully Sues San Diego After Sheriff's
Department Censors Facebook Posts

Dimitrios Karras filed a lawsuit against the County of San Diego after
the Sheriff's department censored his comments from their
Facebook page. Last week, it was announced that Karras settled the
laws

truthvoice.com

Stop being fascist authoritarians. | don't care
if you like what | say or not, | have the right to
SFA

 

You are welcome to post any opinion you want.
If you use profanity again | will ban you. There
lots of families and children that follow our site.
You may no care about them, we do.

Go Fuck Yourself. Fascist Pig.

SEP 14, 2016 AT 8:01 PM

 

 

My post now says "douchebag' you lawless
jackasses.

 
i Ag

€< Timeline Photos

 

Brenda Foster Trice
So proud to have you for my brother.

- Like « Reply

Debi Sandefur

You've sure came a long way from clear
creek. So proud of you. Proud of Matthew
too, | think he is following in some pretty
good footsteps.

 

- Like = Reply

Drew Tanner

| have this guy's autograph. He supports
crooked cops, so that makes him a crooked
cop in my book. He needs to be held
accountable as well if he is going to support
the unlawful actions of his officers.
https://www.facebook.com/photo.
php?fbid=10101962485275777&set=p.1010
1962485275777&type=3&theater

 

This guy sucks
- Edited - Like » i 2 - Reply

Write a comment..
GG

€< Timeline Photos

 

letting y'all know. Hahhaa!!
Yesterday at 11:14PM « Like = ia 3 Reply

View 1 previous reply

ce Carrie McClain Raper Well, | never knew...
Es Danny Watkins You are supposed to do a...

cy Lindsey Alvarez Danny Watkins but what i...

 

Drew Tanner

Are you familiar with 5-54-122?
Specifically (c)(1) D and E? At least one of
your troopers committed this crime. You
know who It Is.

 

- Like = 1 1 + Reply
ae Greg Drew Lol is this the one where they si...
if ial

aoe Drew Tanner You have google, can you no...

= ‘Richard Tanner
‘a Isn't a freeway "designated and signposted

for one-way traffic?"

 

 

Write a comment..
Lk cal eee: Weis aL

 

Drew Tanner
Just don't be like that douche, Trooper Ziegenhorn.

* Like + Reply

Karen Smith

Congrats, thank you and safety all ways. God first, family then
job. Such an undertaking. So glad to know you and Emilie
Williams.

 

| hourago + Like » Reply

Denise Mcclain
And then driving them to the capital to graduate. Congrats

everyone.

 

hours ago + Like + Reply

x 3 Adrian Ray
Outstanding!

2 hours ago * Like . Reply

Wilma Smith
May God be with them.

- Like + Reply

Cathy Daniell Butler
Congratulations and prayers for safety for all of you ... Say a

prayer every day when you get in that car
hoursago + Like » 1@ 1 + Reply

Adam Borden
Thank god for our ARKANSAS STATE TROOPERS. Good job

guys.
| hourago + Like + Reply

Johnny Miller
I'm sure they are ready!!

 

ours ago + Like + Reply

Write a comment...
LO ae ie ia eee eed

 

Richard Carr

So is ziegenhorn gonna have to retake that class as well? And
are your recruits taught that a driver's license is not required
on US public highways? How about open carry of a sidearm or
concealed not requiring a permit in arkansas?

 

3 minutes ago +» Unlike + 1@ 1 + Reply

Drew Tanner
Just don't be like that fascist pig, Trooper Ziegenhorn.

13 minutes ago + Like + Reply

Karen Smith

Congrats, thank you and safety all ways. God first, family then
job. Such an undertaking. So glad to know you and Emilie
Williams.

 

* Like + Reply

Denise Mcclain
And then driving them to the capital to graduate. Congrats
everyone.

>hours ago + Like + Reply

Adrian Ray
Outstanding!

3 hours ago + Like + Reply

Wilma Smith
May God be with them.

 

* Like + Reply
rs Cathy Daniell Butler

Pe) Congratulations and prayers for safety for all of you ... Say a
prayer every day when you get in that car

hours ago « Like + 1@ 1 «+ Reply
me Adam Borden
Thank god for our ARKANSAS STATE TROOPERS. Good job
guys.

Write a comment...
Aan Breet Bed

 

Richard Carr

So is ziegenhorn gonna have to retake that class as well? And
are your recruits taught that a driver's license is not required
on US public highways? How about open carry of a sidearm or
concealed not requiring a permit in arkansas?

 

13 minutes ago + Unlike + 1 1 + Reply

Drew Tanner
Just don't be like that fascist pig, Trooper Ziegenhorn, aka
douchebag.

3 minutes ago + Edited - Like + Reply

Karen Smith

Congrats, thank you and safety all ways. God first, family then
job. Such an undertaking. So glad to know you and Emilie
Williams.

 

* Like « Reply

Denise Mcclain
And then driving them to the capital to graduate. Congrats
everyone.

 

o + Like + Reply
Adrian Ray
Outstanding!
3hours ago + Like + Reply
*  wilma Smith
oe May God be with them.
2hours ago « Like + Reply

F og Cathy Daniell Butler
A Congratulations and prayers for safety for all of you ... Say a
prayer every day when you get in that car

hours ago « Like = 1 + Reply

| Adam Borden
h Thank god for our ARKANSAS STATE TROOPERS. Good job
auvs.

Write a comment...
fees bs Ca RV

< Photos from Arkansas State Polic... Q

 

Drew Tanner

So handcuffing someone and detaining them without any
probable cause, stealing from them, then letting them go is
taught in this class, or is that something that DOUCHEBAG
Ziegenhorn learned on his own?

 

Justnow + Like + Reply

Cathy Shelly Mullis
I'm happy for them but | was wondering why they all have shaved
heads? Is that a requirement?

 

Sep 7 at 8:44PM + Like + 1@ 2 + Reply

Paul Allen Wilkerson
In the midst of everything our law enforcement is going thru....it

takes real courage to stand up and say "I will protect you and
your rights". So | just want to say thank you to these courageous
"soon to be super heroes"...you are admired from afar by many.
You all will be in our prayers as you continue to learn and then
put that learning to action.

Sep 7 at 5:03PM « Like = ia@s- Reply

View 2 previous replies

al Larry Gleghorn 35 years behind a behind a badge. 3 years sheriff...
Michelle Smith Couch

No words to describe how Proud | am of my Son who is one of
the recruits!

Sep 7 at 7:07PM + Edited + Like - 1@ 9 + Reply

 

Poa Denise Mcclain My brother is a trooper and my son is BPD welco...

Ed Garner
"Community Servant Day" at Bible Baptist Church in Jacksonville
on 9/11 ... all troopers welcome!

 

Sep 7 at 9:27PM « Like + 1 1 + Reply

| Bit Larry Gleghorn

Write a comment...
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 9 of 44

i i agar]

Di httpsy/wwwfacebook.com/ARStatePalices © 10% - Oy © search

 

to Babylist

 

Page Inbox & Notifications ij Insights Publishing Tools Promotions Settings Help «

 

Arkansas State

Police
@AR StatePolice

  

Hienie th Liked =  Followinge + Share

About

Have a Question About Your Page?

Photos
Gel automated answers to questions like this

Reviews

wee a |
Community Share a photo or Advertise your Start a live video Gel phone calls

video business

45 Wheid
; Always Open
——s = a EJ |

Get messages Publish a job post Help people find Create an event
your business

CD How do | manage roles for my Page?

 

Police Station in Little Rock, Arkansas

    
   
   

See All ¥

 
        
   
  

 
   

   

4 Drafts . / Our Story
Last diaf created Monday tarch 12 al 2 02 See drafis
Welcome to the Official Facebook Page of
28 Scheduled Posts the Arkansas State Police
Next past scheduled fer today at 6 250° See posts

With your support, we strive to

  
  
 

   

+ Finish your story to tell people more about
your business,

   
 

1Co-Hosting Request
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 10 of 44

a ha
— -

www. facebook.com/ARStalePolice/ GB) 10% = | yO searcn

=. =a

 

Our Story

Welcome to the Official Facebook Page of the Arkansas State Police.

With your support, we strive to provide proactive safety messages, community event
information, unique insights and pictures of ASP events. We will also post other pertinent
news in an effort to keep you informed and safe.

We ask you for your continued support by sharing our page with your family and friends as
we move forward committed to public safety and protecting the great State of Arkansas.

ARKANSAS STATE POLICE FACEBOOK
TERMS AND CONDITIONS

This is the official Facebook page of the Arkansas State Police. The purpose of the Arkansas
State Police Facebook page is to permit authorized employees of the Department to provide
the public with information concerning the Arkansas State Police's mission, goals, programs,
activities, events, news, stories, photographs, and videos and to disseminate other
information and material intended to increase public awareness of and enhance respect for
the Arkansas State Police and its members and employees. Please note that this is a
purposefully controlled online site established for this limited purpose, NOT A PUBLIC
FORUM. All postings/comments are, in addition to being governed by the terms and
conditions established by Facebook, subject to the following terms and conditions
established by the Arkansas State Police:

* BEFORE SUBMITTING/POSTING A COMMENT ON THIS PAGE, YOU MUST REVIEW
AND AGREE TO THE TERMS AND CONDITIONS OF FACEBOOK AND THE TERMS AND
CONDITIONS ESTABLISHED BY THE ARKANSAS STATE POLICE.

o A submission/posting on this page shall constitute acknowledgement and acceptance of
these terms and conditions
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 11 of 44

a .aL hear
= ie

s://wwwfacebook.com/AStatePolices © 10x oe Oe © Seoren

ee rer en Trt eer cer eter a

+ DO NOT USE THIS PAGE TO REPORT A CRIME OR SUSPICIOUS ACTIVITY OR TO
SEEK ANY EMERGENCY PUBLIC SAFETY SERVICES

o In case of EMERGENCY or if you need police assistance, use your phone to dial 911

o To report a crime or suspicious activity, use your phone to dial 911 or call the local police or
ASP Troop location for your part of the state.

+ ALL COMMENTS submitted/posted to this page are actively monitored and reviewed by
the Arkansas State Police. The Arkansas State Police reserve the right to restrict, remove, or
delete any posting/comment that is contrary to and/or inconsistent with the purpose of the
page or in violation of the applicable terms and conditions. The Arkansas State Police
Facebook page is not appropriate for and is not intended to accommodate comments
unrelated to the purpose of the page or particular postings authorized by the Department.
Consistent with the purpose of this page, prohibited content includes but is not limited to the

following:

o Comments not topically related to a particular posting authorized by the Arkansas State
Police;

o Comments in support of or in opposition to candidates seeking election to office, political
parties or organizations, political campaigns, and/ or ballot measures;

o Comments that include or constitute abusive, profane, threatening, insulting, false,
defamatory, slanderous, libelous, hateful, harassing or stalking, racist, sexist, misogynistic,
bigoted, homophobic, vulgar, obscene, violent, pornographic or sexual, inappropriate or
offensive, and/or criminal or unlawful language or content;

o Comments that constitute, include, promote, foster, or perpetuate disparagement or
discrimination of persons on the basis of race, color, religious creed, national origin, ancestry
or ethnicity, sex, gender identity, sexual orientation, handicap or disability, and/or age;

o Comments that constitute or include solicitation of commerce or promotion and/or
advertisement of/for a business or commercial transaction, including but not limited to
“spam” and other commercial content submitted/posted by individuals, groups, entities, or
automatic software programs;

o Comments that constitute, conduct, solicit, promote, encourage or incite criminal or illegal
activity or comments that otherwise incite imminent lawless action;

o Comments that constitute or include a threat to public safety or security and/or that may
compromise or tend to compromise public safety or security;

o Comments that constitute or include an inappropriate and/or unauthorized disclosure of

 
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 12 of 44

a ner
_

‘ips facebook.com/ARSiatePolices —E) 10% oe OB w ® Search

4

compromuse or tend to compromuse pubic safety or security;

o Comments that constitute or include an inappropriate and/or unauthorized disclosure of
personal data or private/personal information about any individual; and

o Comments that constitute or include copyrighted or trademarked material and/or content
that violates the legal ownership interest of another party, submitted or posted without
proper authorization/consent.

+ ONLY COMMENTS consistent with these terms and conditions, as determined by the
Arkansas State Police and those terms and conditions established by Facebook are welcome.

+ The Arkansas State Police DOES NOT ALLOW THE POSTING OF PHOTOGRAPHS,
VIDEOS, AUDIO RECORDINGS (and/or similar media) OR LINKS TO OTHER PAGES OR
WEBSITES by anyone other than an authorized employee of the Arkansas State Police. The
posting of such content/material/information/media is, except when posted by an
authorized employee of the Department, STRICTLY PROHIBITED. If posted/submitted,
such content/material/information/media shall be restricted, removed, and/or deleted.

« IF YOU HAVE A PHOTOGRAPH, VIDEO, OR AUDIO RECORDING (and/or similar media)
you want share with the Arkansas State Police or think the Arkansas State Police would like
to share on this page, please submit the content in a private Facebook message.

+ ONLY INDIVIDUALS, GROUPS AND ENTITIES accepting and complying with, the
applicable terms and conditions established by Facebook and the Arkansas State Police are
welcome. While this page is open for public inspection, only authorized users of Facebook are
permitted to submit/post a comment. The Arkansas State Police reserve the right to restrict,
remove and/or block any person, group, or entity submitting and/or repeatedly submitting
comment(s)/posting(s) contrary to or inconsistent with the purpose of the page, not topically
related to particular postings authorized by the Department, and/or that are in violation of
the applicable terms and conditions.

ADDITIONAL TERMS AND CONDITIONS

o This page and its content are actively monitored and managed by the Arkansas State Police.
* Ifyou are looking for more information about the State Police, please
http://asp.arkansas.gov/

* o“Friending,” “liking,” and/or similar exchanges/actions between Arkansas State
Troopers/civilian employees and a Facebook user does not indicate endorsement of that
user's actions or comments.

 

 
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 13 of 44

ae aa 7
i. :

25! wow facebook.com/ASStatePolices FF) 110% OY & search

such content/material/information/media shall be restricted, removed, and/or deleted.

+ IF YOU HAVE A PHOTOGRAPH, VIDEO, OR AUDIO RECORDING (and/or similar media)
you want share with the Arkansas State Police or think the Arkansas State Police would like
to share on this page, please submit the content in a private Facebook message.

+ ONLY INDIVIDUALS, GROUPS AND ENTITIES accepting and complying with, the
applicable terms and conditions established by Facebook and the Arkansas State Police are
welcome. While this page is open for public inspection, only authorized users of Facebook are
permitted to submit/post a comment. The Arkansas State Police reserve the right to restrict,
remove and/or block any person, group, or entity submitting and/or repeatedly submitting
comment(s)/posting(s) contrary to or inconsistent with the purpose of the page, not topically
related to particular postings authorized by the Department, and/or that are in violation of
the applicable terms and conditions.

ADDITIONAL TERMS AND CONDITIONS
o This page and its content are actively monitored and managed by the Arkansas State Police.
* Ifyou are looking for more information about the State Police, please
http://asp.arkansas.gov/

* o“Friending,” “liking,” and/or similar exchanges/actions between Arkansas State
Troopers/civilian employees and a Facebook user does not indicate endorsement of that
user's actions or comments.

o Comments posted on this page by visitors on the Arkansas State Police Facebook page DO
NOT reflect the opinion(s) of the Department. The Arkansas State Police neither endorse nor
oppose, by its actions or inactions related to restriction, removal or deletion of
submissions/postings, the comments/content submitted/posted by others. Commenters
alone are responsible for their comments, usernames, and/or any information or content
they place or attempt to place on this page.

o All postings on this page are voluntary, and made at your own risk. By using or accessing
Facebook and this page, you are, in addition to accepting the terms and conditions for use
established by Facebook and the Arkansas State Police, also accepting the practices described
in the Facebook Data Use Policy. For more information on Facebook's Data Use Policy, go to
http://www.facebook.com,/policy.php.

 

 

; vy
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Satb Polifel|eab®6008/20 Page 14 of 44

 

 

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

   
 

 

Forgot account?

 

Arkansas State Police
3 hrs -

Last Thursday, Troop F's Cpl. Byron Curry and Trp. Ryan Wingo attended
the Warren Branch Library’s Preschool Storytime. This is a program for
children ages 2-5 where guests read a book to the children. Cpl. Curry read
a book about police officers and explained some of what Troopers do on a
daily basis. After story time, Cpl. Curry and Trp. Wingo let the kids explore 74,215 likes
their patrol cars, turn on the blue lights and even the siren. The children 221 visits
were also given seat belt safety activity books, pencils and stickers.

PEOPLE

A special thanks to Sandy Doss and the rest of the Warren Branch Library

staff for allowing the ASP to participate in this avesome program! For more ABOUT

information on this great program and others in Warren and other Southeast "UNE Road
Arkansas Libraries check out the “What’s happening at your Library” section |

at www.youseemore.com/seark/, 9
[p:Image may contain: 1 person Mizeneltdine

1 State Police Piz
Little Rock, AR 72209

(501) 618-8000
http://asp.arkansas.gov/
PHOTOS
Arkansas State Police updated their cover photo.
9 hrs -
le Arkansas State Police's photo. ee [ee saa eS

Arkansas State Police VIDEOS

11 hrs -

#learnthelawtuesdays!

The Arkansas State Police wants YOU to know the laws!! Every week, we
will post an Arkansas statute and explain the law in detail! If you have
questions about a certain law, or would like to know more, please ask us and
we might use it on our #learnthelawtuesdays!

Today, we are going to cover a topic that has been a growing issue in
Arkansas with areas of new construction and roadway improvements.
Round-a-bouts, or rotary traffic islands, have seemed ... See More

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 1/8
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Satb Polifel|eeb®6008/20 Page 15 of 44

 

   

 

       
 

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures ~“ > ly
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Julie Louise Young

5 I'd like to think the officers that helped
me out when | had a flat tire Saturday
night. Not only did they put the spare...
See More

July 18, 2016 -

Kristen Marie Waldrup

5 Can |ask a favor? If you've ever been
to the Faulkner County Library to take a
Written Drivers Permit Exam or a Road
T... See More

August 30, 2016 -

Arkansas State Police
Yesterday at 4:00pm -

Last week, Troop H's Tfc. Derek Nietert and Tfc. Jed Bolyard took a few

minutes to spent some time with a good friend of ours: 20 year old Caleb

Johnson. Caleb not only spends many hours a week volunteering to help Tell people what you think
students with special needs at Boonville High School, but he is also a

honorary firefighter for Logan County Fire and Rescue. Caleb "loves"

troopers, and wanted them to come hangout with him. Well, Tfc.'s Nietert

and Bolyard couldn't turn down that offer, so the three guys spend some time

shooting the breeze and arguing the age old tale of police vs. fire. PEOPLE ALSO LIKE

Thank you Caleb for supporting the ASP, and keep up the good work in your

community!!! North Little Rock Police Departm...
Police Station

[p-Image may contain: 4 people

Only In Arkansas
Media/News/Publishing

Arkansas Game and Fish Commi...
Community

Police Stations in Little Rock, Arkansas

LIKED BY THIS PAGE

Alaska State Troopers (Official)

Michigan State Police

Arkansas State Police
Yesterday at 8:14am - Texas Department of Public Safety

CITY POLICE OFFICER INJURED IN
JEFFERSON COUNTY TRAFFIC STOP
Places Little Rock, Arkansas Community &

A Stuttgart Police Officer working part-time for the City of Humphrey was Government LawEnforcement Police Station
injured this morning during a traffic stop at the southern edge of the
community along U.S. Highway 79. ... See More

Arkansas State Police

English (US) - Esparial - Portugués (Brasil) -

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 2/8
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eeb®6s08/20 Page 16 of 44

 

 

          

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures : > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

It's never too early to begin developing good relationships with children and
we appreciate Playschool allowing the ASP to spend time with their kids!

[p_Image may contain: 7 people , people smiling

Arkansas State Police
Yesterday at 4:00am -

*TROOP A INFORMATION*
Arkansas State Police Safe Speed locations for the
week of October 3rd:

Monday: I-530 North of Woodson... See More

Arkansas State Police
October 2 at 5:30pm -

Facebook Friends, the ASP needs your help!!! We are asking you to share
our page with ALL your friends!! Currently we have over 60k great people
who have LIKED our page but we want to grow and we need your help!! The
ASP recognizes that social media is a great tool to get information out
quickly, and we want to provided our citizens with the most accurate and up
to date information.

We will, just as we have since the creation of this page, focus mainly on the
community invol... See More

Arkansas State Police at DeWitt Elementary.
October 2 at 4:07pm -

This past Tuesday, ASP Troop E's Trooper First Class Chris Aaron made a
visit to the kindergarten students at DeWitt Elementary. He talked to the
students about the ASP organization, and explained that police officers are
always here to help them. He also talked to the students about safety
awareness during Halloween, and let students tour his rolling office! Thank
you Dewitt Elementary for allowing ASP to come visit!

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 3/8
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docuniteatiad Satb Polifel|eeb®6008/20 Page 17 of 44
|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP
18 captures “
2015

5 Oct 2016 - 27 Apr 2019

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Arkansas State Police
October 2 at 1:54pm -

MISSOURI LAW ENFORCEMENT PURSUIT ENTERS ARKANSAS, ONE
DEAD

OCTOBER 2, 2016

The Arkansas State Police is investigating two motor vehicle crash scenes in
northeast Arkansas in the aftermath of a police pursuit involving a stolen
vehicle that was pursued by Kennett, Missouri police into Arkansas this
morning.... See More

Arkansas State Police
October 2 at 10:28am -

#sundayisforsharing

This past Thursday night, a “Sea of Blue" was held for Officer Nelson with
the Beebe Police department, who passed away suddenly last Saturday.
ASP was represented in this event of honor by Troop B's Corporal Tony
Bowman, as well as other troopers and law enforcement officers from the
surrounding area. We received the following message from our friend
Jennifer Pruitt this week - "After the event was over, Corporal Bowman took
the time to take a picture wi... See More

[p.Image may contain: 2 people , people smiling

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/

DEC

>

2017

   

Ae

g9

        
 

  

4/8
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eab®6008/20 Page 18 of 44

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @®

 

 

     
      

+ KS)
g9

18 captures >
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Arkansas State Police
October 1 at 7:00am -

After last Saturday's ASU-UCA Game in Jonesboro, Troop C's Tfc. Dustin
Morgan caught these future cheerleaders showing off their team spirit while
practicing their dance moves on the field. Hadley and Haisy, ASU Offensive
Coordinator Buster Faulkner’s daughters, took a break to smile big for the
Arkansas State Police!

[p.Image may contain: 2 people , people smiling

Arkansas State Police
September 30 at 4:00pm -

#findthetrooperfriday And the answer is.....

the “Painted House” in Lepanto, Arkansas. "A Painted House" is a novel
(released in 2001) by American author John Grisham. It was made into a
television film in 2003, in which this home was the main set. Inspired by his
childhood in Arkansas, "A Painted House" is Grisham's first major work
outside the legal thriller genre in which he established himself. Set in the late
summer and early fall of 1952, its story is told through the eyes of seven-
year-old Luke Chandler, the youngest in a family of cotton farmers struggling
to harvest their crop and earn enough to settle their debts. The novel
portrays the experiences that bring him from a world of innocence into one of
harsh reality.

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 5/8
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiay Satb Polifel|eeb®6s08/20 Page 19 of 44

 

 

          

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures : > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Arkansas State Police added 4 new photos.
September 30 at 9:15am -

On Tuesday of this week, the Sloan-Hendrix High School in Imboden, AR
held their first annual career day, and the ASP was honored to be a part of
the event!

The Career and Technical Education (CTE) Department is an educational
strategy for providing young people with the academic, technical, and
employability skills and knowledge to pursue postsecondary training or
higher education and enter a career field prepared for ongoing learning.

Approximately 200 students visited the schools gymnasium and talked with
representatives from companies, colleges, military and of course our ASP
troopers!!

Arkansas State Police
September 30 at 5:50am -

#findthetrooperfriday

Find our troopers! Arkansas is a beautiful place, and every Friday we will
post a photo of an ASP Trooper in scenic or historical spot in our state. Do
you know where the Trooper is??? We will answer the question at the end of
the day!

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 6/8
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Sate Polifel|eab®6s08/20 Page 20 of 44

 

   

 

       
 

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures ~“ > ly
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Arkansas State Police
September 29 at 4:51pm -

STATE POLICE RECRUITS RECEIVE TROOPER COMMISSIONS IN
GRADUATION CEREMONY

Thirty-two Arkansas State Police Trooper Recruits graduated tonight at the
Arkansas State Capitol.

The class members initially reported for training on May 8, 2016 and
accumulated more than one-thousand hours of classroom and practical
training over the past twenty-one weeks....

Continue Reading

lp.No automatic alt text available.

Arkansas State Police
September 29 at 1:31pm -

Did you and your family get to Little Rock this past weekend to see the
famous Budweiser Clydesdale's? A few of ASP's Troop A troopers were
lucky enough to spend some time with these amazing horses and their staff.

|p.No automatic alt text available.

Arkansas State Police
September 29 at 10:00am -

Speeding is one of the most prevalent factors contributing to traffic crashes,
and year after year speed shows to be a contributing factor in 30 percent of
all fatal crashes. In 2013, 9,944 lives were lost in speed related crashes.

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 7/18
11/9/2019 Case 4:17-cv-00780-DPM Docuniteatiad Saf Polifel|eeb®6s08/20 Page 21 of 44

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @

18 captures “ >
5 Oct 2016 - 27 Apr 2019 2015 2017

 

    

g9

 
       

Ae

 

Message this Page, learn about upcoming events and more. If you don't have a Facebook
account, you can create one to see more of this Page.

 

Sign Up

 

 

 

Arkansas State Police
September 29 at 7:52am -

Thank you to NWA Homepage for saluting the badge and honoring one of
our Troop L Troopers, Gabriel Chambers. We are proud he is on of our own,
and we appreciate you #backingtheblue!!!

#SaluteTheBadge: Trooper Gabriel Chambers

Sometimes you see the flashing blue and red lights when you're on the highway, b...
WWW.NWAHOMEPAGE.COM

See More

https://web.archive.org/web/2016100500291 2/https://www.facebook.com/arstatepolice/ 8/8
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eab®6d08/20 Page 22 of 44

 

 

|https:/Awww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

   
 

 

Forgot account?

 

Arkansas State Police
5 hrs -

On Tuesday morning, Troop J's Cpl. Stewart Condley was invited to speak
with a group of students at His Kids Daycare in Russellville. The ASP is
always happy to get the invite to speak with children, and spend a some time
making sure each child knows that the police are their friends!! Cpl. Condley
told a few stories, taught the students the importance of calling 911 for 74,839 likes
emergencies, and made sure each child got a hug or a high five! 223 visits

PEOPLE

Thank you to His Kids for allowing us to come spend time with your

students!
— 7 ABOUT
|» / Mage may contain: 14 people , people smiling
‘uung Road.

3 Gj
Mitchel Drive

1 State Police Piz
Little Rock, AR 72209

(501) 618-8000

http://asp.arkansas.gov/

PHOTOS

Arkansas State Police at ABC Children's Academy of
Dardenelle. SSS SS SS
8 hrs - re r=

Have you ever wondered why Lassie was ALWAYS able to find his best

friend Timmy? Or why Rin Tin Tin was ALWAYS able to detect the hidden

bombs? It was their powerful noses, of course! A dog interprets the world

predominantly by smell, whereas human's predominantly interpret by sight. eT? =
Even though a dog’s brain is one tenth the size of a human’s brain, the part
that controls smell is 40 times larger than in humans. A human has about 5
million scent glands whereas dogs have 125 million to 300 million!

When the students at ABC Children's Academy in Dardanelle were studying
the human body's 5 senses, they called on the right dog to teach them about
smell!! Troop J's Cpl. Chase Melder, and his K9 partner Pavatt,

demonstrated how he uses his sense of smell to perform his duties. VIDEOS

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 1/9
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eab®6008/20 Page 23 of 44

 

|https:/Avww.facebook.com/arstatepolice/

 

18 captures
5 Oct 2016 - 27 Apr 2019

Arkansas State Police
Yesterday at 2:44pm -

STATE TROOPERS AMONG THOSE HONORED AT AG LAW
ENFORCEMENT SUMMIT

Arkansas Attorney General Leslie Rutledge honored more than seventy law
enforcement officers today for their service within the past. The awards were
presented at the 14th Annual Law Enforcement Summit at Camp Robinson
where approximately 600 law enforcement officers from across the state.

Among those receiving special recognition was Arkansas State Trooper
Dallas Taylor who was awarded top southeast region ... See More

lj .No automatic alt text available.

Arkansas State Police
Yesterday at 5:50am -

#whyiwearthebadgewednesdays

Lietenant Barry Saffold #628
Commander - ASP Air Support Unit... See More

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/

Places

|LGo_]

REVIEWS

    
     
 

SEP DEC @ @ @
> oO
2015 2017

    
 

4.8 of 5 stars
375 reviews

Julie Louise Young

5 I'd like to think the officers that helped
me out when | had a flat tire Saturday
night. Not only did they put the spare...
See More

July 18, 2016 -

Kristen Marie Waldrup

5 Can |ask a favor? If you've ever been
to the Faulkner County Library to take a
Written Drivers Permit Exam or a Road
T... See More

August 30, 2016 -

Tell people what you think

PEOPLE ALSO LIKE

North Little Rock Police Depa...
Police Station

Only In Arkansas
Media/News/Publishing

Arkansas 911 News
Broadcasting & Media Production

Police Stations in Little Rock, Arkansas

LIKED BY THIS PAGE

Texas Department of Public Safety

Fort Smith Police Department

Michigan State Police

Little Rock, Arkansas Community &
Government LawEnforcement Police Station
Arkansas State Police

English (US) - Espafiol - Portugués (Brasil) -

2/9
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eeb®6s08/20 Page 24 of 44

 

 

|https:/Awww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

   
 

Facebook © 2016

Arkansas State Police
October 4 at 2:00pm -

Last Thursday, Troop F's Cpl. Byron Curry and Trp. Ryan Wingo attended
the Warren Branch Library’s Preschool Storytime. This is a program for
children ages 2-5 where guests read a book to the children. Cpl. Curry read
a book about police officers and explained some of what Troopers do on a
daily basis. After story time, Cpl. Curry and Trp. Wingo let the kids explore
their patrol cars, turn on the blue lights and even the siren. The children
were also given seat belt safety activity books, pencils and stickers.

A special thanks to Sandy Doss and the rest of the Warren Branch Library
staff for allowing the ASP to participate in this awesome program! For more
information on this great program and others in Warren and other Southeast
Arkansas Libraries check out the “What’s happening at your Library” section
at www.youseemore.com/seark/.

|p:Image may contain: 1 person

Arkansas State Police updated their cover photo.
October 4 at 8:08am -

|» Arkansas State Police's photo.

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 3/9
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eeb®6s08/20 Page 25 of 44

 

   

 

   
     
  

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

    
 

CarnmnciawltlUGsdays:

The Arkansas State Police wants YOU to know the laws!! Every week, we
will post an Arkansas statute and explain the law in detail! If you have
questions about a certain law, or would like to know more, please ask us and
we might use it on our #learnthelawtuesdays!

Today, we are going to cover a topic that has been a growing issue in
Arkansas with areas of new construction and roadway improvements.
Round-a-bouts, or rotary traffic islands, have seemed ... See More

|p.No automatic alt text available.

Arkansas State Police
October 3 at 4:00pm -

Last week, Troop H's Tic. Derek Nietert and Tfc. Jed Bolyard took a few
minutes to spent some time with a good friend of ours: 20 year old Caleb
Johnson. Caleb not only spends many hours a week volunteering to help
students with special needs at Boonville High School, but he is also a
honorary firefighter for Logan County Fire and Rescue. Caleb "loves"
troopers, and wanted them to come hangout with him. Well, Tfc.'s Nietert
and Bolyard couldn't turn down that offer, so the three guys spend some time
shooting the breeze and arguing the age old tale of police vs. fire.

Thank you Caleb for supporting the ASP, and keep up the good work in your
community!!!

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 4/9
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safe Polifel|eeb®6008/20 Page 26 of 44

 

 

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

   
 

Arkansas State Police
October 3 at 8:14am -

CITY POLICE OFFICER INJURED IN
JEFFERSON COUNTY TRAFFIC STOP

A Stuttgart Police Officer working part-time for the City of Humphrey was
injured this moming during a traffic stop at the southern edge of the
community along U.S. Highway 79. ... See More

Arkansas State Police
October 3 at 5:50am -

Last week, Troop C's Tfc. Dwight Griffith, stationed in Poinsett County, took
time out of his patrol schedule to stop at Playschool Pre-K in Harrisburg and
have lunch with the students. Tfc. Griffith spoke with Mrs. Holt and Mrs.
Harris’s classes about the importance of safety belts and restraints, crossing
the roadway, and awareness of dealing with strangers. Tic. Griffith also
spoke with the kids about respecting their parents, and even read a book to
the classes.

It's never too early to begin developing good relationships with children and
we appreciate Playschool allowing the ASP to spend time with their kids!

|p Image may contain: 7 people , people smiling

Arkansas State Police
October 3 at 4:00am -

*TROOP A INFORMATION*
Arkansas State Police Safe Speed locations for the
week of October 3rd:

Monday: 1-530 North of Woodson... See More

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 5/9
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eeb®6s08/20 Page 27 of 44

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @

 

 

     
 

+ KS)
g9

    
    

18 captures >
5 Oct 2016 - 27 Apr 2019 2015 2017

Facebook Friends, the needs your help!!! We are asking you to share
our page with ALL your friends!! Currently we have over 60k great people
who have LIKED our page but we want to grow and we need your help!! The
ASP recognizes that social media is a great tool to get information out
quickly, and we want to provided our citizens with the most accurate and up
to date information.

  
 

  

        

We will, just as we have since the creation of this page, focus mainly on the
community invol... See More

Arkansas State Police at DeWitt Elementary.
October 2 at 4:07pm -

This past Tuesday, ASP Troop E's Trooper First Class Chris Aaron made a
visit to the kindergarten students at DeWitt Elementary. He talked to the
students about the ASP organization, and explained that police officers are
always here to help them. He also talked to the students about safety
awareness during Halloween, and let students tour his rolling office! Thank
you Dewitt Elementary for allowing ASP to come visit!

[p:Image may contain: 12 people , people smiling

Arkansas State Police
October 2 at 1:54pm -

MISSOURI LAW ENFORCEMENT PURSUIT ENTERS ARKANSAS, ONE
DEAD

OCTOBER 2, 2016

The Arkansas State Police is investigating two motor vehicle crash scenes in
northeast Arkansas in the aftermath of a police pursuit involving a stolen
vehicle that was pursued by Kennett, Missouri police into Arkansas this
morning.... See More

Arkansas State Police
October 2 at 10:28am -

#sundayisforsharing

This past Thursday night, a "Sea of Blue" was held for Officer Nelson with
the Beebe Police department, who passed away suddenly last Saturday.
ASP was represented in this event of honor by Troop B's Corporal Tony
Bowman, as well as other troopers and law enforcement officers from the
surrounding area. We received the following message from our friend
Jennifer Pruitt this week - "After the event was over, Corporal Bowman took
the time to take a picture wi... See More

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 6/9
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eab®6s08/20 Page 28 of 44
|https:/Avww.facebook.com/arstatepolice/ | [Go] SEP
18 captures
5 Oct 2016 - 27 Apr 2019 2015

Arkansas State Police
October 1 at 7:54pm -

CORRECTIONAL OFFICER TAKEN INTO CUSTODY AFTER EXTENDED
STAND-OFF

At approximately 11 AM today (Saturday, October 1, 2016) the Arkansas
State Police received a request seeking assistance from officials of the
Arkansas Department of Correction.

A correctional officer with access to a rifle at the Delta Regional Unit in
Dermott had refused orders to leave an observation tower.... See More

Arkansas State Police
October 1 at 7:00am -

After last Saturday's ASU-UCA Game in Jonesboro, Troop C's Tfc. Dustin
Morgan caught these future cheerleaders showing off their team spirit while
practicing their dance moves on the field. Hadley and Haisy, ASU Offensive
Coordinator Buster Faulkner’s daughters, took a break to smile big for the
Arkansas State Police!

[»Image may contain: 2 people , people smiling

Arkansas State Police
September 30 at 4:00pm -

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/

DEC

>

2017

Ae

g9

    
     
 

    
 

7/9
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Satb Polifel|eeb6008/20 Page 29 of 44

 

   

 

       
   

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @® @ 2
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2017

    

  

   

television film in 2003, in which this home was the main set. Inspired by his
childhood in Arkansas, “A Painted House" is Grisham's first major work
outside the legal thriller genre in which he established himself. Set in the late
summer and early fall of 1952, its story is told through the eyes of seven-
year-old Luke Chandler, the youngest in a family of cotton farmers struggling
to harvest their crop and earn enough to settle their debts. The novel
portrays the experiences that bring him from a world of innocence into one of
harsh reality.

Arkansas State Police added 4 new photos.
September 30 at 9:15am -

On Tuesday of this week, the Sloan-Hendrix High School in Imboden, AR
held their first annual career day, and the ASP was honored to be a part of
the event!

The Career and Technical Education (CTE) Department is an educational
strategy for providing young people with the academic, technical, and
employability skills and knowledge to pursue postsecondary training or
higher education and enter a career field prepared for ongoing learning.

Approximately 200 students visited the schools gymnasium and talked with
representatives from companies, colleges, military and of course our ASP
troopers!!

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 8/9
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Satb Polifel|eab®6s08/20 Page 30 of 44

|https:/Avww.facebook.com/arstatepolice/ |[[Go ] SEP DEC @

>

2015 2017

 

     
 

+ KS)
g9

   

18 captures
5 Oct 2016 - 27 Apr 2019

        
    

indthetroopertriday
Find our troopers! Arkansas is a beautiful place, and every Friday we will
post a photo of an ASP Trooper in scenic or historical spot in our state. Do
you know where the Trooper is??? We will answer the question at the end of
the day!

[piNo automatic alt text available.

See More

https://web.archive.org/web/20161006214923/https://www.facebook.com/arstatepolice/ 9/9
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eeb®6008/20 Page 31 of 44

 

|https:/Avww.facebook.com/ARStatePolice/

 

18 captures
5 Oct 2016 - 27 Apr 2019

   

| [Go ] OCT JAN @ @ @
> o
2015 2018

 

Like Share More

Photos

No automatic alt text available.

lt text available. automatic alt text available.
See all
Reviews
4.8 430 reviews

Tell people what you think

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

 

Forgotten account?

Police station in Little Rock, Arkansas
4.8 - Always open

Search for posts on this Page

ARKANSAS STATE POLICE OFFICIAL
FACEBOOK PAGE

Please review our Terms and Conditions under
page description

ide —- 79,607 people like this

&, 382 people have been here
About See All
hang Road
Mite helt Dare

» 1 State Police Piz
Little Rock, Arkansas

\ +1 501-618-8000
www.asp.state.ar.us/
© Impressum

Hours
Always open

PEOPLE

79,607 likes

12
11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Safb Polifel|eab®6008/20 Page 32 of 44

|https:/Avww.facebook.com/ARStatePolice/ | [Go ] OCT JAN @

 

     
 

 

AO
g°e

    
 

18 captures >
5 Oct 2016 - 27 Apr 2019 2015 2018

    
 

tonight near Galloway when he had a tire blow out. He went above and
beyond. Being the wife ... See more

Arkansas Game and Fish Comnii...
Kristen Marie Waldrup Community

- 30 August 2016

Can | ask a favor? If you've ever been to the Faulkner County Library to take
a Written Drivers Permit Exam or a Road Test, and you've stood in line for

Only In Arkansas
hours,... See more

Media/news company

See all
Arkansas 911 News

Broadcasting & media production
Videos company

Police Stations in Little Rock, Arkansas

LIKED BY THIS PAGE

America Go Blue Strong

Arkansas Game and Fish Comnii...

Michigan State Police

Places _Little Rock, Arkansas __ Police station
Arkansas State Police

English (UK) - Polski - Espafiol -
Portugués (Brasil) - Francais (France)

See all Privacy - Terms - Advertising - AdChoices
Cookies - More

Facebook © 2016
Posts

Arkansas State Police
21 hrs -

*TROOP G INFORMATION* The Drivers License Testing Site in Stamps
(morning) and Hope (afternoon), as well as the DeQueen site will be
closed, Wednesday, December 14th, due to illness. If you have any
question please contact Troop G @ 870-777-4641.

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/ 2/12
11/9/2019 Case 4:17-cv-00780-DPM Docuniteatiad Safb Polifel|eeb®6008/20 Page 33 of 44

 

 

|https:/Avww.facebook.com/ARStatePolice/ | [Go ] OCT JAN @©@®e
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2018

   
 

11 Likes

Arkansas State Police
7 hrs -
12/14 - ON THIS DAY - Captain Tom Craig

Take time to remember Captain Tom Craig, who was killed in the line of
duty at age 49, on this date in 2000, after being struck by a vehicle while
assisting at the scene of a prior accident.

Captain Craig stopped his patrol car to help the driver of a vehicle which
had overturned during a winter storm. While at the scene, another
vehicle lost control on an icy bridge and spun into Captain Craig and a
citizen who had stopped to help. Cap... See more

l»| mage may contain: 1 person

335 Likes 49 Comments 163 Shares
See all

Posts
Arkansas State Police
8 hrs -

#whyiwearthebadgewednesdays

Trooper First Class Derek Nietert #209
Assigned to Highway Patrol - Troop H... See more

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/ 3/12
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eab6d08/20 Page 34 of 44
|https:/Avww.facebook.com/ARStatePolice/ | [Go] OcT
18 captures
2015

5 Oct 2016 - 27 Apr 2019

Like Comment

Michele Price Taylor, Connie Kronable, Stephanie Fuller and 697 Top comments
others like this.

91 shares

|p Pe Peggy Slate-Harris | remember when you were just a little boy and | knew then
ggy | you were gonna grow up and do something special with your life...thank you for
Slate- your service...and may God bless you.

Harris 2-5hrs

|» Ro Rozenna Sparks Thank you for what you're doing and the reasons behind it.
zenn Know that you are appreciated and prayed for,your family and colleagues as
a well. God bless you always.

Spark 6 hrs

View more comments 2 of 63

Arkansas State Police
Yesterday at 05:50 -

Time again for #learnthelawtuesdays !

The Arkansas State Police wants YOU to know the laws!! Every Tuesday,
we will post an Arkansas statute and answer a few of the common questions
that we get concerning that law, or explain it in detail.

This week, we are going to cover Arkansas's "Drinking in Public" law. Many
states have different interpretations of this law, so it is always important to
understand what your own state deems "intoxicated" or "disorderly." In
Arkansas, the... See more

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

    
 

g°e

    
 

    
 

412
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eeb®6008/20 Page 35 of 44

 

 

|https:/Avww.facebook.com/ARStatePolice/ | [Go ] OCT JAN @©@®e
18 captures > ly |
5 Oct 2016 - 27 Apr 2019 2015 2018

   
 

Like Comment

Joseph McDonald, Jimmy Ryals, Giberson Bielawski Lisa and 102 Top comments
others like this.

63 shares

vin conservative than others but | have reported plenty of people for this nonsense.
Fike A few hundred could be arrested for it after many college football games lol

1 - Yesterday at 08:56

|p{Do Dovey Tweedy Why are people allowed to drink so much at Riverfest? | refuse
vey to go any longer because it is nothing but a bunch of drunks.

Twee 1 - Yesterday at 13:14

View 11 more comments

Arkansas State Police
12 December at 16:55 -

*TROOP G INFORMATION* - The Drivers License Testing Center in
Magnolia (Columbia County) will be closed tomorrow, Tuesday, December
13th.

[piNo automatic alt text available.

Like Comment

Nétp Kpasyenko, Billy Ottinger, Patricia Hodges and 13 others like this.

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/ 5/12
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Satb Polifel|eab®6008/20 Page 36 of 44
|https:/Avww.facebook.com/ARStatePolice/ | [Go] OcT
18 captures
2015

5 Oct 2016 - 27 Apr 2019

Trooper Levi Fleming and Sgt. David Williams joined Hazen PD and Fire
Department to take on the Hazen High School senior class in a basketball
game to raise money for Helping Our Kids - Hazen. The "old man" team won
out, winning 70-65.

Thank you to Hazen High School, and Hazen PD for letting our troopers be a
part of such a great event!

|p:Image may contain: 22 people, people smiling

Like Comment

Barry A. Bray, Jim Middleton, Michelle Todd Bueker and 147 others Top comments
like this.

20 shares

|, De Debbie Meachum Good job! You know they were told to take it easy on ya'll!
bbie DL
Meac 12 December at 19:37

hum
1 Reply

Arkansas State Police
12 December at 06:25 -

“DRIVE SOBER OR GET PULLED OVER" INITIATIVE READY FOR THE
HOLIDAY SEASON

(LITTLE ROCK) — State and local law enforcement officers are increasing
their patrol activity aimed at impaired drivers. Beginning Friday (December
16th) Arkansas State Troopers, along with city and county agencies, will join
in the national “Drive Sober of Get Pulled Over” enforcement mobilization.
The special enforcement operation will continue through Sunday, January 1,
2017.

As the holiday c...
Continue reading

[p.No automatic alt text available.

Like Comment
Greg Tebbetts, Liz Sweeney, Rachael Clem and 235 others like this. Top comments
221 shares
[pisc Scott Berry Amen to that, and these drivers need to put their cell phones away
ott to, | was working in my front yard one day here come a lady down the road

Berry holding her cell phone right in her face, brother something has got to be done,
we have little children playing in and out of our streets and they speed to on this

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

    
 

g°e

    
 

    
 

6/12
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad afb Polifel|eeb®6s08/20 Page 37 of 44
|https:/Avww.facebook.com/ARStatePolice/ | [Go] OcT
18 captures
2015

5 Oct 2016 - 27 Apr 2019

 

  

 

 

rry never understood this problem. | have driven more people home than | can
Seller remember. And | don't mind it at all. DD.
s 1 - 12 December at 19:19

View 11 more comments

Arkansas State Police
12 December at 03:45 -

*TROOP A INFORMATION*
Arkansas State Police Safe Speed locations for the
week of December 12th:

Monday: I-630 @ I-430... See more

Like Comment

Michael L. Perry, Herbert Evans, Shelby Williams and 35 others like Top comments
this.

31 shares

lL» !Ch Chase Cox What does this mean
ase 1 - 12 December at 11:14

|-JAn Angela Alvarez Leo Alvarez
gela 12 December at 18:15

View 3 more comments

Arkansas State Police
11 December at 17:00 -

*TROOP J INFORMATION* - Tomorrow, Monday December 12, the Drivers
License testing center in Dardanelle will be CLOSED all day. - Driver testing
will be held in Clarksville on this day.

|p.No automatic alt text available.

Like Comment
Bruce Beatty, Matt Reves, Carolyn Helms and 17 others like this.

1 share

Arkansas State Police
10 December at 13:50 -

Do you know the difference between the Arkansas State Police and the
Arkansas Highway Police? Many people have asked us that question, and

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

  

JAN

>

2018

AO

 

    
 

g°e

    
  
      

TA2
 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safb Polifel|eab®6008/20 Page 38 of 44
|https:/Avww.facebook.com/ARStatePolice/ | [Go] OcT
18 captures
2015

5 Oct 2016 - 27 Apr 2019

 

Many people are unaware of the difference, or think that we are the same
agency. While both agencies have ... See more

[p.No automatic alt text available.

Like Comment

Bryan Hughes, Cindy Kyzer Fletcher, Cortney Kocourek and 1,375 Top comments
others like this.

523 shares

[pedo John J Piper I'd just like to say thank you to all those who "protect and serve"
hn J yall run towards the danger when Everyone ELSE runs away. GOD BLESS
Piper YOU! From my family to yours Merry CHRIST-mas!

6 - 10 December at 20:24

|) Bill Billy Hammon To all agencies that patrol the roads to make them safer | thank

y you..
Ham

mon You might not like these men and women but when you are in need of help.

They are always there for you. Show some respect.
6- 11 December at 19:20

1 Reply

View more comments 2 of 97

Arkansas State Police
9 December at 15:30 -

#findthetroopertfriday - And the answer is.......

The historic Highway 61 Arch This highway arch was constructed in 1922
and is located on the Arkansas-Missouri line between Blytheville, Arkansas
and Steele Missouri. The arch was listed on the register of historic places in
October 2001 and is currently the only Archway over a US Highway in the
State of Arkansas.

[piNo automatic alt text available.

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

g°e

  

82
 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Satb Polifel|eeb6008/20 Page 39 of 44
|https:/Awww.facebook.com/ARStatePolice/ | [Go] OCT
18 captures
5 Oct 2016 - 27 Apr 2019 2015

 

39 shares

|p Do Donna Roden Brister It was a very busy highway when | was growing up... We
nna went to "the state line" often with my grandfather to get gas and a sweet snack
Rode @&.

A 1 + 10 December at 10:17

[oki Kimberly Stewart Technically he's still in MO still, but about to cross into AR on
mberl 61!
y 10 December at 10:39

View 8 more comments

Arkansas State Police
9 December at 07:52 -

This Tuesday, law enforcement officers from many different departments in
Miller County, including the ASP participated in this year’s Shop With a Cop
event. Each officer was partnered with a child to spend a day shopping for
holiday toys and gifts! ASP Troop G's Troopers Kyle Peek, Bernard Pettit,
Joshua Broughton and JD Jones, along with Officers from Texarkana PD
and Miller County Sheriffs Department, and Texarkana Fire Department all
pitched in to help for the day.

The ASP wants to thank the businesses, clubs, organizations and other
donors who partnered with the Law Enforcement of Miller County to help our
children have a brighter Christmas!

[p.Image may contain: 12 people, people smiling

Like Comment
James Aydelott, Karen Boyer, Billy Stinnett and 202 others like this. Top comments
29 shares

|-2Sh Shay Gill Nesi Broughton
ay 1 +9 December at 08:22
Gill

1 Reply

|» He Helen Thomas Thank you ASP. For all you do. PLEASE STAY SAFE. MERRY
len CHRISTMAS

Thom 10 December at 16:01
as

Arkansas State Police
9 December at 04:50 -

#findthetrooperfriday

Find our troopers! Arkansas is a beautiful place, and every Friday we will
post a photo of an ASP Trooper in scenic or historical spot in our state. Do
you know where the Trooper is??? We will answer the question at the end of
the day!

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

g°e

 
 

9/12
 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunitetiad Satb Polifel|eeb6s08/20 Page 40 of 44
|https:/Awww.facebook.com/ARStatePolice/ | [Go ] OCT
18 captures
5 Oct 2016 - 27 Apr 2019 2015

   
 

Like Comment
Dot Beis, Jan Ellis Brewer, Kenny Cathey and 558 others like this. Top comments
166 shares

rolyn 86 - 9 December at 05:06
Finch

er 10 Replies

|,2An Andrew Butler Highway 61 at the Arkansas / Missouri state line north of
drew Blytheville.

Butler 25 - 9 December at 06:19

View more comments 2 of 158

Arkansas State Police at Noble/Allbritton Elementary
School.
8 December at 15:33 -

Last week, Troop F's Trooper Grant Evans spent some time visiting with
some very special students at Noble/ Allbritton Elementary school in
Hamburg, AR. Trooper Evans, along with Ashley County Deputy Phillip
Roberts, were invited to speak with the Kindergarten students about
community workers. The classes were able to ask questions about tools
police officers use, community safety, and first aid. Each child had the
opportunity to see the police vehicle first hand, and turn on the lights!

Thank you to Noble/Allbritton Elementary for letting the our troopers get
involved and spend time teaching your students that police officers are
friends!

|p:Image may contain: 1 person

Like Comment

Philip Roberts, Deb Gregory Robertson, Walker Cingolani and 174 Top comments
others like this.

41 shares
[pec Scottie Arrington LiL G is awesome!! Keep up the good work brother. Grant

ottie Evans
Arina

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

g°e

10/12
11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Satb Polifel|eab®6d08/20 Page 41 of 44

|https:/Avww.facebook.com/ARStatePolice/ | [Go ] OCT JAN @

 

 

AO
g°e

18 captures >
5 Oct 2016 - 27 Apr 2019 2015 2018

   
 

einai

Arkansas State Police
8 December at 05:50 -

12/8 - ON THIS DAY - Sergeant Kelly Pigue
Take time to remember Sergeant Pigue, who was killed in the line of duty on
this day in 1977 at the age of 38.

Sergeant Pigue was fatally injured in an automobile accident on Highway 64
west of Wynne, Arkansas.... See more

|p:Image may contain: 1 person

Like Comment

Virginia Greene Collins, Clovis Macon, Weston M. Lewey and 608 Top comments
others like this.

241 shares

[pech Chris Pigue This was my uncle. Remember it like it was yesterday! Thanks for
ris remembering him!
Pigue = 16 - 8 December at 06:03

1 Reply

[52M Mary Lois Burfield Banks Such a wonderful man! He was like a part of our
ary family! He and my daddy fished together many times. Kelly always sensed

Lois when Mom was cooking fish or when | made pineapple upside down cake! Truly
Burfie one of my heroes! Cried so hard when this accident happened! Gone, but will

Id never be forgotten!

Bank 1 - 8 December at 19:50

View more comments 2 of 58

Arkansas State Police at Arkansas Children's Hospital.
7 December at 16:43 -

Yesterday, the ASP took part in one of our favorite traditions of the year: the
Teddy Bear Drop at Arkansas Children's Hospital. Each year, troopers from
around the state take a bundle of our teddy bear and hand deliver one to
each child. These bears are purchased by the ASP Association each year,
and funded by donations from the public.

Thank you to Arkansas Children's for allowing us to spread a little joy.

Pictured below: Arkansas State Police Director Bill Bryant, Sgt. ... See more

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/ 11/12
 

 

 

11/9/2019 Case 4:17-cv-00780-DPM Docunietiad Safe Polifel|eab®6d08/20 Page 42 of 44
|https:/Avww.facebook.com/ARStatePolice/ | [Go] OcT
18 captures
2015

5 Oct 2016 - 27 Apr 2019

Like Comment
Terri Eggman-Sherland, Scotch Powell, Doug Davis and 516 others Top comments
like this.
70 shares

(err Frances Graham | see Mrs Freddy great program the kids love getting these
ances I'm sure,and Thank each and. Everyone of you for your services its really not an
Grah easy job,and now days very dangerous for you,Merry Christmas to all

am 8 December at 07:24

lp Pa Pam Bufford Thank you so = much for doing what you do to protect and
m serve. Blessings to your families this yeT and have a safe 2018
Buffor § December at 16:03

View 9 more comments

See more

https://web.archive.org/web/2016121422261 6/https://www.facebook.com/ARStatePolice/

JAN

>

2018

AO

    
 

g°e

    
 

    
 

12/12
Case 4:17-cv-00780-DPM Document 76-11 Filed 06/08/20 Page 43 of 44

siedoolyWunoAmouy# ,, Siseg

Ajlep © UO S@IPUNWLUOD ISU] SAISS 0} AWIUNOddoO 98u} Jo pnoid sJe pue AyUHeayul pue UOHOUNSIP UJIM sAJes Aep Yokes YIOM 0} SLUOD
OUM SJBOIJJO JUBWBDJOJUS ME] SU} JO %G' 66 ‘UOISsajoijd Huloljod au} SsAlsosed AeEW SWOS MOY sidsep Jeu} ‘MOUY 0} Huojwioo

SI }| ‘(UOIBS1 Wd}Se9) JOPUCLULUOD UOISIAIG [Oe AeEMYUBIH du] Se J9A0 Bunye) ‘Jofe 0] psjowod Bulsg Jo JouUOY au} peY | FOZ UI
pue ‘OLOZ ul | dooly ul ule}desd Jo yUeJ BU} O} pSeyOWWOId SEM | "UOSLJEH Je paaenbpesy | dool) pue uWws YoY je passenbpesy
LH} dool| JO] Saijnp JePUBWLWODS JUR}SISSe Pepnjoul sAey sjuswUBisse Ay “(AjUNOD PJOJMeID) H doo) ul JosiAJedns jsod

joned Aemubiy & se poubisse pue jueSsbies Jo YUL! SU] O] Ps}OWWO/Jd sem | ‘GGG U| “ajdosd JUsoOUUI 0} |nJWeY ‘ApUeLOdWw! SJoWw
pue ‘S8AJ@SWAU] O} |NJWWEY Sq pjnod SUOIJOe SSOUM sjeNpIAIpUl YIM Huljeap jueawW SeLUIeWWOs Buldjey jeu) 9zi/e81 0} awed AjyoInb
| ‘ajdoed djay 0} Aunuoddo ue aaey 0} sem Uolssajoid ay} BuLejUa JO} UOSed) SUC JequINU Al ‘pal JooJe9 Siu} ansund OUM
sjueolidde jo Aywolew ay} ayIq “((AjUNOD UOWMAEN) | dOoLL ‘UOISIAIG joneg AEMUBIH SJUsWedESp au} 0} peubisse pue Jedool| aje]1S
SESUPYIV UL SE POUOISSILULUOD SEM | ‘OGGEL U] JAONO SII/PIAA & SE UOISSIWIWWOD USI4 pue awe SesUeyIY 9U] UIIM ‘E96] Ul UeHeg
JeaJeo JUBWSDJOJUa Me] AP, JOPUBWILUOD UOIHay Wey}seg - joneg AemuBIH Ja]so 4 ay Joleyy sAepsseupemebipegeyuLeemMiAUM#

ISO weg: 18 910z ‘Z| Areniga4 ‘Aepsaupa,
ge 44 of 44

“OIJeN} JBUJO JO MO, ay] Sapsduw }! JAAQUaYUM ABMpeO due] HjNwW e Jo sue] ya} ay) ul AjsnonuyuCD

pajejedo aq JOU |JEYUS SajDIYaA JOJOVy (q) ‘oye Aem-3u0 JO} paysodubis pue pajyeubisap Aempeo! e uodn (+) 10 ‘uosiay) ajqeaijdde
S3|n dU) JapUN dIYJe) JO] saue] payew (¢) aauy) OU! paplaAlp Aempeol e UOdN (¢) ‘uredas Jo UONONISUOD JapUN SIUM Ded)

0] pasoja si Aempeo! e Jo Jey YHU ay) UaUAA (Z) ‘JUaWAaAOW Jeu) BulWJaAoB sajni ay] JapuN UoNoeaIp awes ay) ul Buipaasoid
SjOIYSA JaujoUe Bulssed pue BulyeLeAo udu, (1) :smojjo} se jdaoxa ‘Aempeo au} Jo jjey Jub ay) UOdn USAUp aq ||/eUs aDIYaA

e ‘UIpPIM JUaIDINS Jo SAempeo jje Uodn (e) Aempeol jo apis }yB Uo UBALIP aq 0} SADIUSA “LOE-LG-2Z :Me7] SPsuB MY Jepun

s|jE} oes Buipaduwy ‘uoneiado ayes Jo} Auessaoau si paeds paonpa uayM jdaoxea ‘olyey) JO JUBLWSAOWW a}qeuOseas puke |EUJOU
3U] YOO} JO apadul| 0} se paads moyjs e yons ye Aemubiy & UOdN aAUIp OL Zd1e1) BPSdu O] UBSW ji Saop JeUAA (Z ABMPEO! Bu)

JO apis ]yHl ay] UO SAP JSNW NCA Saje}s YIM B]NJE]Ss MOjaq BU} JAPUN LONRIOIA Ul aie NOA jnNg ‘me| ji] paads au) Burjeaig aq jou
Aew nod ‘aue] ya} au) ul Bulaup aie nod J “Eg AemMAUe BW UB) Ja]Sse] Huiob aq j,upjnous ajdoag ¢(aue] yajjoue] 1Se) au) ul SAP

| },uUe9 AUM ‘yiLul| paads au) Burob pue ‘me] au) Buipige we | Jj (, :que me] siu] BuiusaoU09 3Al999/ 3am jey) SUOoHSsanb UOWLWOD aWwOS
‘aue| ]UBL au) “eye ‘Aempeo! ay] Jo apis }YBU ay] UO SAWP JSNW NOA Jeu) Sa}e}]s ME] SUL “SNSS! S/Y] SISAOD JEU] ME] BU] Pue oI!)
Buipeduu, BuusAoo aie am Aepo| jsAepsan|mejey]Wwes|# Mau JNO UO }} asn ]YUBiwW 3am pue sn yse aseajd ‘SIOLU MOUY 0} Sy! P|INOM
JO ‘MeE] UlEL39 B INoge suONsanb aaey nod J “me] DIloads Jey) BujusJaouU0s 186 am jeu] SucNsanb UOWLUOD ay] Jo Ma] Be JaMSUB pUue
a]njels sesuBWy Ue }SOd |JIM am ‘yYaamM AJBAZ jjSME] BYU] MOUY OC] NOA S]UEM Bdl|Od ajels sesuewy aul sAepsanimejaujwes|#

LSO Weoo:e }€ 9LOZ ‘| YoueW ‘Aepsany

Case 4:17-cv-00780- DPM Document 76-11 Filed 06/08/20 Pa
